                 Case 2:17-cr-00149-TLN Document 51 Filed 04/18/18 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00149-TLN
11
                                  Plaintiff,             STIPULATION TO CONTINUE STATUS
12                                                       CONFERENCE AND EXCLUDE TIME PERIODS
                            v.                           UNDER SPEEDY TRIAL ACT; FINDINGS AND
13                                                       ORDER
     RIGOBERTO NUNEZ;
14   OSCAR ANDRADE; AND                                  DATE: April 19, 2018
     OSCAR RODRIGUEZ,                                    TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
16

17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on April 19, 2018.
19
            2.      By this stipulation, the parties move to continue the status conference until May 31, 2018,
20
     and to exclude time between April 19, 2018 and May 31, 2018, under Local Code T4.
21
            3.      The parties agree and stipulate, and request that the Court find the following:
22
                    a)     The government has represented that it has produced discovery in the form of
23
            investigative reports, photographs, and audio files, which the defendants need time to review,
24
            discuss with their counsel, and pursue investigation. The government has also represented that it
25
            has made available to defense counsel additional electronic surveillance discovery, which the
26
            defendants will also need time to review.
27
                    b)     Counsel for defendants believe that failure to grant the above-requested
28
            continuance would deny counsel the reasonable time necessary for effective preparation, taking

      STIPULATION TO CONTINUE STATUS AND EXCLUDE         1
      TIME; [PROPOSED] FINDINGS AND ORDER
                 Case 2:17-cr-00149-TLN Document 51 Filed 04/18/18 Page 2 of 3


 1          into account the exercise of due diligence.

 2                  c)     Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendants in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                  d)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period of April 19, 2018 to May 31, 2018,

 7          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 8          because it results from a continuance granted by the Court at defendants’ request on the basis of

 9          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

10          of the public and the defendant in a speedy trial.

11          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

13 must commence.

14          IT IS SO STIPULATED.

15 Dated: April 17, 2018                                      MCGREGOR W. SCOTT
                                                              United States Attorney
16
                                                              /s/ JAMES R. CONOLLY
17                                                            JAMES R. CONOLLY
                                                              Assistant United States Attorney
18

19 Dated: April 17, 2018                                      /s/ Dina L. Santos
                                                              DINA L. SANTOS
20                                                            Counsel for Defendant
                                                              Oscar Andrade
21

22 Dated: April 17, 2018                                      /s/ Preciliano Martinez
                                                              PRECILIANO MARTINEZ
23                                                            Counsel for Defendant
                                                              Rigoberto Nunez
24
     Dated: April 17, 2018                                    /s/ David Fischer
25                                                            DAVID FISCHER
26                                                            Counsel for Defendant
                                                              Oscar Rodriguez
27

28

      STIPULATION TO CONTINUE STATUS AND EXCLUDE          2
      TIME; [PROPOSED] FINDINGS AND ORDER
               Case 2:17-cr-00149-TLN Document 51 Filed 04/18/18 Page 3 of 3


 1                                          FINDINGS AND ORDER

 2          IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

 3 stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as its order.

 4 The Court specifically finds the failure to grant a continuance in this case would deny counsel

 5 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 6 The Court finds the ends of justice are served by granting the requested continuance and outweigh the

 7 best interests of the public and defendant in a speedy trial.

 8          The Court orders the time from the date the parties stipulated, up to and including May 31, 2018,

 9 shall be excluded from computation of time within which the trial of this case must be commenced

10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code T4). It is

11 further ordered that the April 19, 2018 status conference shall be continued until May 31, 2018, at 9:30

12 a.m.

13

14          IT IS SO FOUND AND ORDERED this 17th day of April, 2018.

15

16

17

18                                                THE HONORABLE TROY L. NUNLEY
                                                  UNITED STATES DISTRICT JUDGE
19

20

21

22

23

24

25

26

27

28

      STIPULATION TO CONTINUE STATUS AND EXCLUDE          3
      TIME; [PROPOSED] FINDINGS AND ORDER
